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                            UNITED STATES DISTRICT COURT
                                          DISTRICT OF COLUMBIA

League of Women Voters Education Fund, et al.
                                                       )
                       Plaintiff(s)                    )
                                                       )
 vs.                                                   )       Case Number:     1:25-cv-995
 Donald J. Trump, et al.                               )
                                                       )
                      Defendant(s)

                               DECLARATION FOR PRO HAC VICE ADMISSION
                              (to be attached to Motion for Pro Hac Vice Admission)

        In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that
 the answers to the following questions are complete, true, and correct:
 1. Full Name: Clayton Pierce
 2. State bar membership number: NY State Bar 6181507
 3. Business address, telephone and fax numbers:
       American Civil Liberties Union, 125 Broad St., Fl. 18 New York, NY 10004
 4. List all state and federal courts or bar associations in which you are a member “in good standing”
       to practice law:
       n/a
 5. Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
       good standing” status, or otherwise disciplined by any court, bar association, grievance committee
       or administrative body? Yes             No ✔

 6. Have any proceedings which could lead to any such disciplinary action been instituted against you
       in any such bodies?       Yes    __ _No ✔
       (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

 7. List the number of times the attorney has been admitted pro hac vice into this court within the last
       two years. 0
       (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

 8. Are you a member of the DC Bar? No

 9. Do you have a pending application for admission into USDC for the District of Columbia? No
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       In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or trial on the merits further certifies that he/she:

                                           (CHECK ALL ITEMS THAT APPLY)

  1.          has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
              Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
              evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
              entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

  2.          has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
              Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
              44.1(b)(2)]; OR


   3.         has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
              by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




        I declare under penalty of perjury that the foregoing is true and correct.
           4/1/2025
             DATE                                                                    SIGNATURE OF ATTORNEY




                                                                2
